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           Schedule CC
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                                       SCHEDULE “CC”
                                     LEGAL DESCRIPTION

                                 FEE, EXCLUDING MINERALS

                                      Cameron County, Texas

Tract: RGV-BRP-1007

Owners: Luciano Ortiz (a/k/a Luciano Ortiz Trevino), Luciano Ortiz Cantu, Maria Ortiz Cantu, Estefana Ortiz
        Cantu, Mary Frazier, Herbert Timothy (Tim) Frazier

Acres: 0.5016

Being a 0.5016 acre (21,851 square feet calculated from surface measurements) parcel of land,
situated in Cameron County, Texas, located in the Potrero Del Espiritu Santo Jose Salvador De
La Garza Survey, A-2, said 0.5016 acre parcel being out of a 4.523 acre remainder tract from a
27.41 acre tract described as Share No. 8 and allotted to Narcisa Cantu de Ortiz in a partition deed
recorded in Volume 124, Page 556 of the Deed Records of Cameron County (D.R.C.C.), an
affidavit of heirship mentioning Narcisa Cantu (deceased), Luciano Ortiz, AKA Luciano Ortiz
Trevino, Luciano Ortiz Cantu, Maria Ortiz Cantu and Estefana Ortiz Cantu is recorded in Volume
Q, Page 387 of the Suppmental Deed Records of Cameron County, said 0.5016 acre parcel being
more particularly described as follows:

COMMENCING at a 3/8 inch iron rod found at the common northerly corner between said 4.523
acre remainder tract and a 4.807 acre remainder tract from a 7.11 acre tract described as Three
acres and as Third Tract (4.11 acres) in a deed from Augustine Celaya, Jr. to Pilar Cabrera and
recorded in Volume 735, Page 410 D.R.C.C., said point also being in the existing southerly right-
of-way (100 FOOT ROW) of U. S. Highway Number 281, thence as follows:

SOUTH 07°34’22” WEST, along the common line between said 4.523 and 4.807 acre tracts a
distance of 336.96 feet to a 5/8 inch iron with a yellow plastic cap marked RODS SURVEYING
INC set for the POINT OF BEGINNING of the herein described parcel, said point having grid
coordinates of X=1,284,753.68 and Y=16,513,595.43, said point being the northwesterly corner
of the herein described parcel, all bearings and coordinates are based on the Texas State Plane
Coordinate System, South Zone, North American Datum of 1983, CORS 96 adjustment, all
distance are grid and can be converted to surface by multiplying by a combined scale factor of
0.99996;

THENCE, SOUTH 83°36’13” EAST, along the northerly line of the herein described parcel a
distance of 363.99 feet to a 5/8 inch iron with a yellow plastic cap marked RODS SURVEYING
INC set for the northeasterly corner of the herein described parcel, said point being in the
westerly line of a 4.383 acre remainder from a 25.91 acre tract described in a deed from Dr.
Francis F. Calderoni to Andrea S de Vera recorded in Volume 327, Page 422 D.R.C.C.;

THENCE, SOUTH 07°13'33" WEST, along the common line between said 4.807 and 4.4 acre
tracts at a distance of 13.50 feet passing a 4.5 inch steel pipe with a brass disk set in concrete and
marked INTERNATIONAL BOUNDARY COMMISSION UNITED STATES – MEXICO
COMISION DE LIMITES found at the northeasterly corner of a 1.82 acre levee tract described as
Second Tract Levee in a deed from Luciano Ortiz, et al to Cameron County and recorded in
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Volume 280, Page 627 D.R.C.C., in all a distance of 60.01 feet to a 5/8 inch iron with a yellow
plastic cap marked RODS SURVEYING INC set at the southeasterly corner of the herein
described parcel, said point also being in the existing northerly toe of slope of the existing levee;

THENCE, NORTH 83°36’13” WEST, along the southerly line of the herein described parcel and
along the existing northerly toe of slope of the existing levee a distance of 364.35 feet to a 5/8
inch iron with a yellow plastic cap marked RODS SURVEYING INC set at the southwesterly
corner of the herein described parcel, said point also being in the common line between said 4.523
and 4.807 acre tracts;

THENCE, NORTH 07°34'22" EAST, along said common line at a distance of 44.07 feet passing
a 4.5 inch steel pipe with a brass disk set in concrete and marked INTERNATIONAL
BOUNDARY COMMISSION UNITED STATES – MEXICO COMISION DE LIMITES found
at the northwesterly corner of said 1.82 acre levee tract, in all a distance of 60.02 feet to the
POINT OF BEGINNING and containing 0.5016 acres (21,851 square feet calculated from
surface measurements).


                                                                             Tract: RGV-BRP-1007
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           Schedule DD
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                                     SCHEDULE “DD”
                               FEE, EXCLUDING MINERALS




                                LAND TO BE CONDEMNED

Tract: RGV-BRP-1007
Owners: Luciano Ortiz (a/k/a Luciano Ortiz Trevino), Luciano Ortiz Cantu, Maria Ortiz Cantu, Estefana Ortiz
        Cantu, Mary Frazier, Herbert Timothy (Tim) Frazier
Acres: 0.5016
Cameron County, Texas
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                Schedule EE
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                                         SCHEDULE “EE”
                                         ESTATE TAKEN

                                 FEE, EXCLUDING MINERALS

                                      Cameron County, Texas

Tract: RGV-BRP-1007

Owners: Luciano Ortiz (a/k/a Luciano Ortiz Trevino), Luciano Ortiz Cantu, Maria Ortiz Cantu, Estefana Ortiz
        Cantu, Mary Frazier, Herbert Timothy (Tim) Frazier

Acres: 0.5016


        The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads and pipelines. The estate taken is made subject to a dominant
easement appurtenant for access in common with others (including the United States) at the
location depicted on the map attached as Exhibit A (“Easement Appurtenant”). The Easement
Appurtenant provides Owner with a right of way from Owner’s property lying north of the border
barrier; along the northern boundary of lands acquired for but not improved with the border
barrier at least 10 feet in width; to and across lands acquired for the border barrier purposes,
including the right to pass at all times through an opening in said border barrier or gate identified
on Exhibit A as Gate O-17-2 (Flores Headquarters); then along the southern boundary of lands
acquired for but not improved with the border barrier at least 10 feet in width, to Owner’s
property lying south of the said border barrier. The Easement Appurtenant shall run with title to
that real estate of the Owner lying between the Rio Grande River and the border barrier that
would benefit from a right of way.
        The estate taken excepts and excludes all interests in minerals and in water distribution
and drainage systems, provided that any surface rights arising from the excluded interests in
water distribution and drainage systems are subordinated to the construction, operation, and
maintenance of the border barrier.
        The Easements Appurtenant reserved to the landowner(s) and their successors and
assigns to travel across and along the crown of the IBWC levee, if any, is made subject to the
operational needs of the United States, through the International Boundary and Water
Commission, for constructing, operating, and maintaining suitable levees and for flood control
purposes.
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                                         EXHIBIT A




Tract: RGV-BRP-1007
Owners: Luciano Ortiz (a/k/a Luciano Ortiz Trevino), Luciano Ortiz Cantu, Maria Ortiz Cantu, Estefana Ortiz
        Cantu, Mary Frazier, Herbert Timothy (Tim) Frazier

Cameron County, Texas
